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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                 4:18CR3013

      vs.
                                                                  ORDER
MARSHAL MARSHALL,

                    Defendant.


      Defendant has moved to continue the pretrial motion deadline, (Filing No. 30),
because Defendant and defense counsel need additional time to fully review the
discovery received before deciding if pretrial motions should be filed. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (Filing No. 30), is granted.

      2)     Pretrial motions and briefs shall be filed on or before March 8, 2018.

      3)     Trial of this case remains scheduled to commence on March 26, 2018.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendant in a speedy trial, and the
             additional time arising as a result of the granting of the motion, the time
             between today’s date and March 8, 2018 shall be deemed excludable time
             in any computation of time under the requirements of the Speedy Trial Act,
             because although counsel have been duly diligent, additional time is
             needed to adequately prepare this case for trial and failing to grant
             additional time might result in a miscarriage of justice. 18 U.S.C. §
             3161(h)(1) & (h)(7). Failing to timely object to this order as provided under
             this court’s local rules will be deemed a waiver of any right to later claim
             the time should not have been excluded under the Speedy Trial Act.

      February 26, 2018.
                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
